
CALDWELL, J.
We can not hold that section 2Í04, Revised Statutes, is unconstitutional.
The portion of said section involved in this hearing is that which pertains not to the county, but purely to a city of the first class and second grade, and the subject of litigation in said portion of the section is the regulation and management of the workhouse by the city, which subject, while it may be general in its nature, is not one of general interest to the inhabitants of the state. This being so, it is unlike Cincinnati v. Steinkamp 54 Ohio St., 284, and -may be accomplished by a classification of class and grade of cities.
We do not determine as to the constitutionality of this statute in the earlier part of the section, where it refers to a county containing a city of the first class and second grade, as that is not involved in this oase. But we are satisfied that the statute is of such a nature that the part pertaining purely to a oifcy might be separated from the part pertaining to the county.
Sections 2108, 2109 and 2110, Revised Statutes, give the city authority to pass an ordinance as to vagrancy and how it may punish it; but, instead of following the course it may, under seotion 2110, Revised Statutes, if it sees fit. waive its option and proceed under section 2104, the former section being optional. We think the city may proceed under section 2104. ■
The judgment is affirmed.
